                     3:17-cr-30074-SEM-TSH # 123 Page 1 of 3
          Case: 21-2392    Document: 1-2     Filed: 07/30/2021    Pages:
                                                                                        E-FILED
                                                                           2 2021 04:08:45
                                                                                        (55 of 57)
                                                          Monday, 02 August,                    PM
                                                                  Clerk, U.S. District Court, ILCD

   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


       Everett McKinley Dirksen
                                                                           Office of the Clerk
       United States Courthouse
                                                                          Phone: (312) 435-5850
    Room 2722 - 219 S. Dearborn Street
                                                                          www.ca7.uscourts.gov
         Chicago, Illinois 60604




                                         NOTICE OF CASE OPENING
July 30, 2021

                                    UNITED STATES OF AMERICA,
                                             Plaintiff - Appellee

No. 21-2392                         v.

                                    WEST K. MPETSHI,
                                             Defendant - Appellant
Originating Case Information:
District Court No. 3:17-cr-30074-SEM-TSH-1
Central District of Illinois
Court Reporter Lisa Cosimini
Clerk/Agency Rep Shig Yasunaga
District Judge Sue E. Myerscough

Case filed: 07/30/2021
Case type: cr/D
Fee status: In Forma Pauperis
Date of Judgment: 07/22/2021
Date NOA filed: 07/30/2021


The above-captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit.
Deadlines:
Appeal No. Filer               Document                         Due Date
21-2392    West K. Mpetshi     Transcript information sheet     08/13/2021

21-2392        West K. Mpetshi           Appellant's brief           09/08/2021




THIS NOTICE SHALL NOT ACT AS A SUBSTITUTE FOR MOTIONS FOR NON-INVOLVEMENT /
SUBSTITUTION OF COUNSEL. COUNSEL ARE STILL REQUIRED TO FILE THE APPROPRIATE MOTIONS.
                      3:17-cr-30074-SEM-TSH # 123 Page 2 of 3
           Case: 21-2392    Document: 1-2     Filed: 07/30/2021                                   Pages: 2                   (56 of 57)



Important Scheduling Notice!
Hearing notices are mailed shortly before the date of oral argument. Criminal appeals are scheduled shortly after the
filing of the appellant's main brief; civil appeals are scheduled after the filing of the appellee's brief. If you foresee
that you will be unavailable during a period in which your appeal might be scheduled, please write the clerk
advising him of the time period and the reason for your unavailability. The court's calendar is located at
http://www.ca7.uscourts.gov/cal/argcalendar.pdf. Once an appeal has been scheduled for oral argument, it is very
difficult to have the date changed. See Cir.R. 34(e).


form name: c7_Docket_Notice    (form ID: 108)
                      3:17-cr-30074-SEM-TSH # 123 Page 3 of 3
           Case: 21-2392    Document: 1-3     Filed: 07/30/2021                    Pages: 1          (57 of 57)



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


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          Chicago, Illinois 60604




                                          NOTICE OF DOCKETING - Short Form
July 30, 2021

To: Shig Yasunaga
    Clerk of Court

The below captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit:

                Appellate Case No: 21-2392

                Caption:
                UNITED STATES OF AMERICA,
                         Plaintiff - Appellee

                v.

                WEST K. MPETSHI,
                         Defendant - Appellant
                District Court No: 3:17-cr-30074-SEM-TSH-1
                Court Reporter Lisa Cosimini
                Clerk/Agency Rep Shig Yasunaga
                District Judge Sue E. Myerscough

                Date NOA filed in District Court: 07/30/2021
If you have any questions regarding this appeal, please call this office.

form name: c7_Docket_Notice_short_form        (form ID: 188)
